          Case 2:09-cr-00421-TLN Document 27 Filed 10/15/09 Page 1 of 2


 1   DOUGLAS I. HORNGRAD
     Attorney at Law
 2   (CA State Bar No. 95086)
     Maybeck Building Four
 3   1736 Stockton Street
     San Francisco, CA 94133-2926
 4   Telephone: (415) 397-9509
     Facsimile: (415) 397-9519
 5
     Attorney for Defendant
 6   VI TRUONG
 7
 8                               UNITED STATES DISTRICT COURT
 9                               EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                            Case No. 2:09-cr-00421-GEB
12                  Plaintiff,
                                                          STIPULATION AND [PROPOSED]
13           v.                                           ORDER RESETTING PROPERTY
                                                          BOND DOCUMENT CONTROL
14   VI TRUONG,                                           DATE
15              Defendant.
     _____________________________/
16
17           IT IS HEREBY STIPULATED by and between Assistant United States Attorney
18   Jason Hitt, counsel for plaintiff, and the below signed counsel for defendant Vi Truong that
19   the control date for the completion of the real property documents securing the bond in Mr.
20   Vi Truong’s case be extended from October 15, 2009, to November 5, 2009. The control
21   date was set by the Honorable Judge Hollows.
22           This reset is respectfully requested because the bond will be secured by several pieces
23   of property and counsel for Mr. Truong requires further time to secure some additional
24   documents to finalize the property bond process. Counsel for Mr. Truong has spoken with
25   Mr. Hitt, who stated that he does not object to this request, is agreeable to the requested new
26   date, and give his verbal authorization for this electronic filing.
27   //
28   //
       Case 2:09-cr-00421-TLN Document 27 Filed 10/15/09 Page 2 of 2


 1         SO STIPULATED
 2   DATED: October 13, 2009                   /s/ Douglas Horngrad
                                               DOUGLAS I. HORNGRAD
 3                                             Counsel for Defendant Vi Truong
 4
 5   DATED: October 13, 2009                   /s/ Jason Hitt
                                               JASON HITT
 6                                             Assistant U.S. Attorney
                                               Counsel for Plaintiff
 7
 8         IT IS SO ORDERED.
 9   Dated: October 15, 2009.
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                         -2-
